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 1                                                          The Honorable Robert J. Bryan
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 7
 8                             UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
10
11   STATE OF WASHINGTON,
                                              Case No: 3:17-cv-05806-RJB
12                               Plaintiff,
13                                            GEO’S MOTION FOR ORDER OF
                         v.                   DISMISSAL BASED ON PLAINTIFF’S
14                                            FAILURE TO JOIN REQUIRED
                                              GOVERNMENT PARTIES, OR,
15   THE GEO GROUP, INC.,                     ALTERNATIVELY, TO ADD REQUIRED
                                              GOVERNMENT PARTIES
16                               Defendant.
                                              NOTE ON MOTION CALENDAR:
17                                            April 13, 2018
18                                            ORAL ARGUMENT REQUESTED
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28   STATE OF WASHINGTON v. GEO GROUP                                 III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                             Joan K. Mell
     GEO’S MOTION FOR ORDER OF DISMISSAL BASED ON PLAINTIFF’S          1019 Regents Blvd. Ste. 204
     FAILURE TO JOIN REQUIRED GOVERNMENT PARTIES, OR,                       Fircrest, WA 98466
     ALTERNATIVELY, TO ADD REQUIRED GOVERNMENT PARTIES                       253-566-2510 ph
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 1                                                INTRODUCTION
 2           The State of Washington (“State”) has brought this suit solely against The GEO Group,
 3
     Inc. (“GEO”), leaving out the Department of Homeland Security—Immigration and Customs
 4
     Enforcement (“ICE”), GEO’s contracting partner at the Northwest Detention Center (“NWDC”).
 5
 6 ICE, however, dictates the conditions of confinement for immigration processing purposes, such
 7 as GEO’s staffing ratios and the challenged Voluntary Work Program (“VWP”) that offers a
 8
     dollar-per-day allowance. Nothing about the number of people GEO employs at the NWDC or
 9
     the allowance offered to VWP participants can change unilaterally without ICE’s consent.1 Yet
10
11 here, the State demands the Court to order substantive changes at the NWDC that impact facility
12 operations—including the use of government appropriations—without ICE’s involvement.
13
             Under analogous Ninth Circuit precedents, ICE is required to be joined to this case.
14
     However, the State has pled claims—under the state’s Minimum Wage Act (“MWA”) and unjust
15
16 enrichment—that restrict joinder because the federal agencies have sovereign immunity. In
17 equity and good conscience, the Court may not subject GEO to further proceedings without
18 joining ICE. Because it is not feasible to do so, the Court must dismiss the case under Fed. R.
19
     Civ. P. 19(b)—a consequence of a problem the State created by trying to by-pass the federal
20
     agencies that set the policy the State disputes. Alternatively, the Court may grant leave to the
21
22 State to amend its causes of action to join ICE as a required party under Rule 19(a).2
23
24   1
       Although ICE is GEO’s contractual counterparty, ICE is a division of the Department of Homeland Security
25   (“DHS”). Because DHS is likely a required or indispensable party for the same reason that ICE is, GEO uses the
     term “ICE” to refer to both ICE and DHS, and requests an order that both ICE and DHS be named as parties.
26   Additionally, relevant immigration laws also direct action by the U.S. Attorney General. See 8 U.S.C. §§
     1103(a)(11), 1231. To the extent ICE may not act without the U.S. Attorney General, it too should be named.
27   2
       Although nonjoinder of an indispensable party may be brought as a motion to dismiss before a defendant even
     answer a complaint, see Fed. R. Civ. P. 12(b)(7), it may also be brought later, see Fed. R. Civ. P. 12(h)(2). Further,
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 1                                                    ARGUMENT
 2 I.        LEGAL STANDARDS.
 3
             Under Rule 19(a), a person subject to service of process and whose joinder will not
 4
     deprive the court of subject-matter jurisdiction must be joined as a party if: (A) in that
 5
 6 person’s absence, the court cannot accord complete relief among existing parties; or (B) that
 7 person claims an interest relating to the subject of the action and is so situated that disposing
 8 of the action in the person’s absence may: (i) as a practical matter impair or impede the
 9
     person’s ability to protect the interest; or (ii) leave an existing party subject to a substantial
10
     risk of incurring double, multiple, or otherwise inconsistent obligations because of the
11
            3                                                                                     4
12 interest. If such a person is absent, the Court must order the person to be joined as a party.
13           However, sometimes joinder is not feasible. In that case, a court must determine
14
     whether, in equity and good conscience, the action can proceed among the existing parties or
15
     should be dismissed.5 The court considers, in a “practical” manner:6 (1) the extent to which a
16
17 judgment rendered in the person’s absence might prejudice that person or the existing parties;
18 (2) the extent to which any prejudice could be lessened or avoided by: (A) protective
19
     provisions in the judgment; (B) shaping the relief; or (C) other measures; (3) whether a
20
     judgment rendered in the person’s absence would be adequate; and (4) whether the plaintiff
21
22
23
24
     protection of an absentee party is sufficiently important that it can be raised at any stage or proceedings, or by the
25   court sua sponte. Provident Tradesmens Bank & Trust Co. v. Patterson, 390 U.S. 102, 111 (1968); McCowen v.
     Jamieson, 724 F.2d 1421, 1424 (9th Cir. 1984).
26   3
     4
       Fed. R. Civ. P. 19(a)(1).
       Fed. R. Civ. P. 19(a)(2).
27   5
       Fed. R. Civ. P. 19(b)(1).
     6
       See, e.g., Dawavendewa v. Salt River Proj. Agr. Imp. & Power Dist., 276 F.3d 1150, 1154 (9th Cir. 2002).
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 1 would have another adequate remedy if the action were dismissed for nonjoinder.7
 2           Rule 19 motions are determined under a burden-shifting approach. A movant must
 3
     make a prima facie showing that an absent party is required to be joined.8 If the movant
 4
     makes a sufficient showing, the burden then shifts to the nonmovant to negate it.9 If the
 5
 6 nonmovant does not, the court should either dismiss the case or order the plaintiff to amend its
 7 claim to join the absent party, if possible.10
 8
             ICE is a required party because the Court cannot even ascertain how to calculate the
 9
     requested relief without ICE’s involvement: ICE controls all the detainee files and sets GEO
10
11 staffing ratios. Without ICE’s consent, GEO will face inconsistent obligations under its
12 contract with ICE if the Court decides that detainees at NWDC participating in the VWP—a
13
     program GEO must administer under ICE’s own standards and the ICE-GEO contract—are
14
     deemed GEO’s “employees.”              GEO will be simultaneously required to hire them and
15
16 prohibited from doing so under federal law and the terms of its contract with ICE. Although
17 ICE is a required party, it cannot be joined to this case because the State relies entirely on a
18 state wage and unjust enrichment law that do not abrogate ICE’s sovereign immunity. In
19
     equity and good conscience this case cannot proceed without ICE as a party. The core
20
     element of this case—whether aliens detained by ICE are GEO’s “employees” entitled to a
21
22 minimum wage—does not permit any tailored remedy that avoids inconsistent obligations to
23 GEO or rewriting the ICE-GEO contract. Therefore, the Court should dismiss the case.
24
25   7
       Fed. R. Civ. P. 19(b)(1)-(4).
26   8
       Boles v. Greenville Hous. Auth., 468 F.2d 476, 478 (6th Cir. 1972); United States v. Sweeny, 418 F. Supp. 2d 492,
     499 (S.D.N.Y. 2006); see also 7 Wright & Miller, Fed. Prac. & Proc. § 1609.
27   9
       Id.
     10
        See id.
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 1 II.        THE FEDERAL AGENCIES ARE REQUIRED DEFENDANTS.
 2            Rule 19 requires joinder of a non-party for several reasons. First, an absent party may
 3
     be required if complete relief is impossible among parties already joined to an action.11 Under
 4
     Rule 19(a)(1)(A), a court will focus on whether a party’s absence will undercut or invalidate
 5
 6 the relief the court can grant to the parties already involved in the case. Second, an absent
 7 party may be required if a judgment in that party’s absence either damages the absent party’s
 8
     interest12 or “leaves an existing party subject to a substantial risk of incurring double,
 9
     multiple, or otherwise inconsistent obligations because of the [absent party’s] interest.”13
10
11            When a plaintiff sues one party to a contract over actions that relate to that contract,

12 the absent contracting party is a required party. In Dawavendewa, the plaintiff sought to
13 enjoin hiring preferences by the defendant lessee that were allegedly illegal under federal
14     14
     law.    The defendant lessee argued that the tribe—the owner of the land and the defendant’s
15
     lessor—was required to join the action because the hiring practices underlying the case were
16
                                                    15
17 required by the defendant’s lease with the tribe. The Ninth Circuit held that the court could
18
19   11
        Fed. R. Civ. P. 19(a)(1)(A).
     12
20      Rule 19(a)(B)(i) applies when proceeding without a party would “as a practical matter impair or impede the
     person’s ability to protect [its] interest.” As a practical matter, litigating this case against GEO alone is likely to
21   raise significant practical difficulties because DHS and ICE controls detainee information under federal regulations:
     “No person, including . . . any privately operated detention facility, that houses, maintains, provides services to, or
22   otherwise holds any detainee on behalf of [DHS] (whether by contract or otherwise), and no other person who by
     virtue of any official or contractual relationship with such person obtains information relating to any detainee, shall
23   disclose or otherwise permit to be made public the name of, or other information relating to, such detainee. Such
     information shall be under the control of [DHS] and shall be subject to public disclosure only pursuant to the
24   provisions of applicable federal laws, regulations and executive orders.” 8 C.F.R. § 236.6. Additionally, DHS has
     its own housekeeping regulations that require agency approval for disclosure of information. See 5 U.S.C. § 301; 6
25   C.F.R. §§ 5.41 et seq.; United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951). Thus, proceeding without the
     appropriate federal agencies will put GEO in the position of having to produce information that is under the federal
26   government’s control and which GEO is statutorily prohibited from disclosing.
     13
        Fed. R. Civ. P. 19(a)(1)(B).
27   14
        276 F.3d at 1153.
     15
        Id.
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 1 not accord complete relief without adding the tribe.16 The court reasoned that even if the
 2 plaintiff won his claim against the defendant lessee, the non-party tribe would not be bound
 3                   17
     by that judgment.        Thus, the tribe would be free to simply terminate the defendant’s lease
 4
     and enter a new lease with a new party that again required the hiring terms that the plaintiff
 5
                        18
 6 claimed were illegal. Because this would undercut the plaintiff’s relief “even if victorious,”
 7 the tribe was a required party under Rule 19(a)(1)(A). The Ninth Circuit concluded that it was
 8
     a “fundamental principle” that “a party to a contract is necessary, and if not susceptible to
 9
     joinder, indispensable to litigation seeking to decimate that contract.”19 The State knows
10
                                                    20
11 this: it has prevailed on the same theory before.
12           A party is also likely to face inconsistent obligations when it is sued for actions it took
13
     in performance of a contract, but its contractual counterparty is absent from the suit. The
14
     Ninth Circuit addressed this problem in EEOC v. Peabody Western Coal Co.,21 which, like
15
                                                                                           22
16 Dawavendewa, involved a suit that focused on the enforceability of the terms of a lease.
17 The EEOC filed a suit against a coal company, claiming that the company engaged in
18 preferential hiring practices that violated federal law.23 But those practices were required
19
     under its lease with the Native American nations (“Nation”) that owned the land, and had also
20
21
22
     16
23      Id. at 1155-56.
     17
        Id. at 1155.
     18
24   19
        Id. at 1155-56.
        Id. at 1157 (emphasis added); see also Wilber v. Locke, 423 F.3d 1101, 1113 (9th Cir. 2005) (same) abrogated on
25   other grounds by Levin v. Commerce Energy, Inc., 560 U.S. 413 (2010).
     20
        Mudarri v. State, 147 Wn. App. 590, 196 P.3d 153 (2008) (a direct or collateral attack on a contract requires
26   joinder of both parties to the contract).
     21
        610 F.3d 1070 (9th Cir. 2010).
27   22
        Id. at 1078.
     23
        Id. at 1074.
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 1 been approved by the Department of the Interior (“DOI”).24 The Nation was a required party
 2 to the action because a judgment against the coal company in the absence of the Nation would
 3
     put the company “between the proverbial rock and a hard place—comply with the injunction
 4
     prohibiting the hiring preference policy or comply with the lease requiring it.”25
 5
 6           But the Ninth Circuit further held that the DOI was a required party to the case

 7 because (1) a decision in the EEOC’s favor would subject the company to “pay damages for
 8
     having engaged in conduct that was mandated by the [DOI]” for which it would not be able to
 9
     seek indemnification in the DOI’s absence, and (2) injunctive relief granted against the coal
10
11 company would mean that the company would be required by a court order to disregard the
12 lease provision but the DOI would be free to enforce it “upon pain of losing the leases.”26 The
13
     DOI had a direct interest in the case even though it was not a signatory to the leases because a
14
     judgment against the coal company would either require the DOI to modify its lease-approval
15
16 processes or to continue to enforce them and leave the coal company with conflicting
17 obligations.27 Thus, the DOI was a required party under Rule 19.
18           The Ninth Circuit has also found a federal agency to be a required party when a
19
     plaintiff sues a defendant for conduct in accord with the absent agency’s policies.                In
20
     McCowen v. Jamieson,28 a state agency was sued to enjoin certain practices relating to its
21
                                29
22 distribution of food stamps.    Although federal regulations required the state agency to

23 reissue food stamps within five days of a recipient’s report that the stamps were lost, the state
24
     24
25   25
        Id. at 1074-75.
        Id. at 1078 (quoting Peabody, 400 F.3d 774; Dawavendewa, 276 F.3d at 1156).
26   26
     27
        Id. at 1081.
        Id. at 1081-82.
27   28
        724 F.2d 1421 (9th Cir. 1984).
     29
        Id. at 1422.
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 1 agency had been granted a waiver by the United States Department of Agriculture to respond
 2 within fifteen days.30 The district court enjoined the state agency to reissue the stamps within
 3                             31
     ten days, despite the waiver.        On appeal, the Ninth Circuit held that the federal agency was a
 4
     required party because the state agency had been merely “following the direction of the
 5
                                                                                  32
 6 [federal agency] in applying a modification of the administrative regulations.” Because the
 7 “thrust of the action [wa]s against the [federal] agency’s interpretation of its own regulations,
 8
     naming subordinates as defendants in the action d[id] not negate the [federal agency’s]
 9
     indispensability.”33 Further, the panel reached this conclusion despite the agency’s own lack
10
                                                                                               34
11 of intervention—and, indeed, of any apparent involvement in or response to the case at all.
12           Here, ICE is a required party because the Court cannot afford complete relief to the
13
     State without joining ICE. The State is seeking to prevent GEO from administering the VWP
14
     without paying minimum wage to detainee participants. But GEO is required by the contract
15
16 to administer the VWP, and the reimbursement rate for the $1 daily allowance is specified by
17 the contract.35 ICE must consent to any adjustment to the $1 rate—unsurprisingly, since the
18 allowance impacts governmental appropriations.36 Substituting competitive wage earning
19
20
     30
21      Id. at 1422-23.
     31
        Id. at 1423.
     32
22      Id. at 1424.
     33
        Id.
     34
23      Cf. id. at 1424-25 (dissenting judge arguing that agency was not a required party because it was not “knocking at
     the door” to join the suit).
     35
24      See ICE-GEO Contract at 9, 82 (requiring VWP and incorporating PBNDS payment terms). Paragraph 4.3 of
     Complaint alleges that the PBNDS “require [GEO] to pay detainees at least $1 per day for their labor.” To the
25   extent the State is alleging that the PBNDS is consistent with payment of a minimum wage to detainees, this is also
     a reason why ICE is a required party, because that allegation is sharply inconsistent with ICE’s own policy, and
26   prior statements of the INS general counsel. INS General Counsel, Your CO 243-C Memorandum of November 15,
     1991; DOD Request for Alien Labor, General Counsel Op. No. 92-63, 1992 WL 1369402 (Nov. 13, 1992)
27   (explaining that amount of payment to detainees derives from federal statute, 8 U.S.C. § 1555(d)) at Appendix B.
     36
        ICE-GEO Contract, ECF 19 at 9; 8 U.S.C. § 1555(d); Genco No. 92-63, 1992 WL 1369402.
28   STATE OF WASHINGTON v. GEO GROUP                                                           III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                                                       Joan K. Mell
     GEO’S MOTION FOR ORDER OF DISMISSAL BASED ON PLAINTIFF’S                                    1019 Regents Blvd. Ste. 204
     FAILURE TO JOIN REQUIRED GOVERNMENT PARTIES, OR,                                                 Fircrest, WA 98466
     ALTERNATIVELY, TO ADD REQUIRED GOVERNMENT PARTIES - 7                                             253-566-2510 ph
                                                                                                   joan@3brancheslaw.com
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 1 employees for detainees has the same effect because ICE approves the staffing ratios.37 Even
 2 if the Court were to declare detainees to be GEO’s “employees” under Washington’s
 3
     minimum wage law and enjoin GEO to pay minimum wages, the order will not bind ICE.
 4
     Consequently, ICE would be free to manage the facility itself or find another contractor not
 5
 6 subject to the Court’s order to administer the VWP under the same terms in force now, giving
 7 no real relief to the State but imposing tremendous prejudice on GEO.                            This is like
 8
     Dawavendewa, in which an absent Native American tribe was deemed a required party
 9
     because it could cancel the defendant’s lease and re-lease to another party on identical terms.38
10
11           ICE is also a required party because GEO will face inconsistent obligations if ICE is

12 not joined. The INS (now ICE) general counsel has expressly opined that detainees in its own
13
     or in contract facilities are not employees.39 Accordingly, GEO administers the VWP to
14
     detainees, but does not employ them.40 Indeed, the ICE-GEO contract expressly distinguishes
15
                                              41                             42
16 between detainee activities and employment, and GEO cannot hire detainees. ICE requires
17 GEO to (1) “perform pre-employment suitability checks for all employees and prospective
18 employees;”43 (2) hire only people who are at least lawful permanent residents who have lived
19
     in the United States for at least five years and who qualify through I-9 eligibility and the pre-
20
21
     37
22      ICE-GEO Contract, ECF 19 at 55-56.
     38
        276 F.3d at 1155-56.
     39
23       INS General Counsel, The Applicability of Employer Sanctions to Alien Detainees Performing Work in INS
     Detention Facilities, General Counsel Op. No. 92-8, 1992 WL 1369347, at *1 (Feb. 26, 1992) (concluding that
24   detainees are not “employees” for work done in detention, because “[a] detainee performs work for institution
     maintenance, not compensation”) at Appendix A.
     40
25      Performance Based National Detention Standards (“PBNDS”), §5.8 (describing VWP as “expected practice”);
     ICE-GEO Contract, ECF 19 at 45, 82.
26   41
        Id. (“Detainees shall not be used to perform the responsibilities or duties of an employee of the Contractor.”).
     ICE’s contract with GEO requires it to regulate conduct between detainees and employees. Id. at 62-63, 76.
27   42
        See id. at 45, 47, 57, 62-66, 76.
     43
        Id. at 57.
28   STATE OF WASHINGTON v. GEO GROUP                                                         III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                                                     Joan K. Mell
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                                                                                                 joan@3brancheslaw.com
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 1 employment suitability standards;44 and (3) report and suspend any employee with a “record
 2 of arrests.”45 These requirements typically exclude all detainees.
 3
             Deeming detainees to be GEO’s “employees” would conflict with the plain terms of
 4
     the contract. As the Ninth Circuit recognized in Peabody, such a result would put GEO
 5
 6 “between the proverbial rock and a hard place” by forcing it to choose between complying
 7 with this Court’s order and violating its contract with ICE, or complying with the contract and
 8                                        46
     facing contempt proceedings instead.             Further, ICE’s interest in protecting its own policies
 9
     counsels in favor of finding that it is a required party.47 In a forceful recent letter, eighteen
10
11 members of Congress urged federal agencies to answer the kinds of unsustainable allegations
12 that the State makes here.48 Because complete relief cannot be accorded without ICE, and
13
     GEO will face inconsistent obligations, ICE is a required party under Rule 19.
14
     III.    THE FEDERAL AGENCIES CANNOT BE JOINED AS DEFENDANTS.
15
             Federal agencies are immune from suit unless Congress has specifically authorized
16
17 suits against them. “It is elementary that the United States, as sovereign, is immune from suit
18 save as it consents to be sued, and the terms of its consent to be sued in any court define that
19                                            49
     court’s jurisdiction to entertain the suit.”           Thus, “[a]bsent a waiver, sovereign immunity
20
21
22   44
        Id. at 63.
     45
23      Id. at 64-65.
     46
        See 610 F.3d at 1082.
     47
24      See McCowen, 724 F.2d 1421; see also Boles, 468 F.2d at 479 (courts are “most hesitant to ... allow[] the policies
     and practices of [any] federal agency to be overhauled by the judiciary without at least affording the agency the
25   opportunity to be heard in support of its present operation”); Lopez v. Arraras, 606 F.2d 347, 353 (1st Cir. 1979)
     (finding Housing and Urban Development (“HUD”) to be a required party when it had “not had a chance to explain
26   the intricacies of its relationship with the [defendant] local housing authority and … [the court was] loath to resolve
     this controversy without affording HUD the occasion to fully present its position”).
27   48
        See March 7, 2018 Letter to Attorney General, Secretary of Labor and Acting Director of DHS, Exhibit A.
     49
        United States v. Mitchell, 445 U.S. 535, 538 (1980) (alterations omitted).
28   STATE OF WASHINGTON v. GEO GROUP                                                            III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                                                        Joan K. Mell
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                                                                                                    joan@3brancheslaw.com
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 1 shields the Federal Government and its agencies from suit.”50 Like any other federal agency,
 2 ICE is protected by sovereign immunity apart from any express statutory waiver.51
 3
             ICE’s sovereign immunity bars it from being joined to defend against the State’s
 4
     claims under the MWA and for unjust enrichment, as pled. The State’s claim for monetary
 5
                                                                    52
 6 relief is barred by sovereign immunity without an express waiver. Neither the MWA nor
 7 Washington common law offers any route to abrogate ICE’s sovereign immunity. A state law
 8
     cannot waive the federal government’s sovereign immunity, without consent; the State has
 9
     alleged no such consent. The federal agencies cannot be joined as parties.
10
11 IV.       EQUITY AND GOOD CONSCIENCE REQUIRE THAT THIS CASE NOT
             CONTINUE WITHOUT ICE.
12
             Under Rule 19(b), the Court considers several factors to determine if it can proceed
13
14 without a required party: (1) the extent of the prejudice to any party from proceeding without
15 the required party; (2) whether that prejudice could be lessened or avoided by tailoring relief
16
     or taking other equivalent measures; (3) whether any judgment could be adequate without the
17
     required party; and (4) whether the plaintiff has another remedy if the action were dismissed.53
18
19           These factors favor dismissing the State’s claims. First, any judgment on the merits

20 without ICE’s joinder would subject GEO to substantial prejudice. In Peabody, the Ninth
21
     50
22      Dep’t of Army v. Blue Fox, Inc., 525 U.S. 255, 260 (1999) (quoting FDIC v. Meyer, 510 U.S. 471, 475 (1994)).
     51
        See, e.g., Clarke v. United States, 107 F. Supp. 3d 238 (E.D.N.Y. 2015) (sovereign immunity barred wrongful
23   death claim against ICE); Rangel v. United States, No. CV-10-3096, 2010 WL 5018370 (E.D. Wash. Dec. 3, 2010)
     (sovereign immunity barred Bivens claim against ICE); Palomera v. ICE, No. 1:09-cv-0318, 2009 WL 973669,
24   (N.D. Ga. Apr. 8, 2009) (sovereign immunity barred § 1983 suit, Bivens action, and state law claims against ICE);
     Hopper v. John Doe Myers Rec. Coach NW Det. Ctr., No. C05-5680, 2006 WL 2597915 (W.D. Wash. Sept. 8,
25   2006) (ICE properly dismissed from suit for damages and injunctive relief on sovereign immunity grounds).
     52
        Mitchell, 445 U.S. at 538. Though the State has claimed that it seeks only equitable relief, the State’s allegedly
26   “equitable” relief is truly just a disguised claim for damages in the form of “fair wages.” See ECF 45, 2-6. See
     Complaint, ECF 1 at ¶ 6.5 (“Defendant benefits by retaining the difference between the $1 per day that it pays
27   detainees and the fair wage that it should pay for work performed at NWDC.”).
     53
        Fed. R. Civ. P. 19(b)(1).
28   STATE OF WASHINGTON v. GEO GROUP                                                         III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                                                     Joan K. Mell
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                                                                                                 joan@3brancheslaw.com
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 1 Circuit held that a plaintiff’s money damages claim could not justly proceed without joining
 2 the federal agency because the defendant’s liability was incurred only by following the
 3
     agency’s policies. The court explained that the defendant’s “only sin, if indeed it was a sin,
 4
     was to comply with [a contract provision] inserted in its lease at the insistence of the Secretary
 5
 6 [of a federal agency]. It would be profoundly unfair for a court to award damages against [the
 7 defendant] while allowing [the defendant] no redress against the government.”54
 8
            So too here: the State is seeking to force GEO to “disgorge” money that it was
 9
     allegedly required to pay for VWP participation as a “fair wage,” even though ICE’s standards
10
11 and the ICE-GEO contract requires GEO to administer the VWP and prohibits GEO from
12 hiring detainees.55 As in Peabody—the State’s claim for a money judgment, at least, must be
13
     dismissed.   And while federal agencies may be subject to injunctive claims under the
14
     Administrative Procedure Act (“APA”),56 the State has not taken that route here. The State
15
16 created the problem by trying to indirectly topple longstanding federal agency practice by
17 attacking the agency’s contractor. GEO is prejudiced if this claim proceeds without ICE.
18          Second, that prejudice cannot be avoided by any tailored remedy. For the State to be
19
     entitled to any of the relief it seeks, this Court must first declare that detainees at NWDC who
20
     participate in the VWP are GEO’s employees. But as explained above, GEO’s contract
21
22 simultaneously requires it to offer the VWP and prohibits it from employing detainees. Also,
23 ICE controls GEO staffing ratios by limiting post assignments. Logically, no declaration
24
     could be tailored to avoid these predicaments. If the Court found on the merits for the State,
25
26   54
        Peabody, 610 F.3d at 1084.
27   55
        Complaint, ECF 1 at ¶¶ 6.5, 7.6.
     56
        See 610 F.3d at 1085-86.
28   STATE OF WASHINGTON v. GEO GROUP                                              III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                                          Joan K. Mell
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     ALTERNATIVELY, TO ADD REQUIRED GOVERNMENT PARTIES - 11                               253-566-2510 ph
                                                                                      joan@3brancheslaw.com
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 1 GEO would incur duties under the Court’s order that conflict with its duties under its contract
 2 with ICE, and would continue to face additional suits alleging such liability.57 Indeed, a
 3                                                                                         58
     declaration that detainees at NWDC became GEO’s “employees” without violating IRCA,
 4
     would override the agency’s own legal opinion that detainees are not employees.59
 5
 6            Third, the State’s own relief cannot be complete without an order that binds ICE. An

 7 absent party’s ability to continue the conduct of which the defendant is accused undercuts a
 8                 60
     plaintiff’s relief.    Even if the State received everything it seeks, ICE could still continue its
 9
     VWP policies by running its own detention facility, or by switching contractors.
10
11            Fourth and finally, the State likely has other opportunities to carry out its agenda. As

12 in Peabody, the State may be able to file an APA claim or declaratory action to challenge
13
     ICE’s policy directly.61 But it is not equitable or in good conscience to allow the State to
14
     pursue its claims against GEO alone, without joining the federal agency that sets the
15
            62
16 policies. If the required parties cannot be joined, the State’s claims should be dismissed.
17                                                       CONCLUSION
18            The Court should issue an order dismissing the State’s case because ICE is a required
19
     party that cannot feasibly be joined. Alternatively, the Court should order the State to add
20
     ICE and all required parties.
21
22
     57
23      See Dawavendewa, 276 F.3d at 1162 (holding both that relief could not be shaped to avoid prejudice to either the
     defendant or the absent contractual counterparty and that a damages award would not “resolve [the defendant’s]
24   potential liability to other plaintiffs...”).
     58
        8 U.S.C. 1324a.
     59
25   60
        See Genco Op. 92-8, 1992 WL 1369347, at *1.
        See, e.g., id. at 1155 (noting that the absent party could “still attempt to enforce the [offending] lease provision
26   [or] attempt to terminate [the defendant’s] rights”).
     61
        See 610 F.3d at 1085-87; see also Andrx Pharms., Inc v. Biovail Corp., 276 F.3d 1368, 1378-39 (Fed. Cir. 2002);
27   Oregon v. Ashcroft, 192 F. Supp. 2d 1077, 1087 (D. Or. 2002).
     62
        Dawavendewa, 276 F.3d at 1162-63.
28   STATE OF WASHINGTON v. GEO GROUP                                                             III BRANCHES LAW, PLLC
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              Case 3:17-cv-05806-RJB Document 51 Filed 03/20/18 Page 18 of 25




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28   STATE OF WASHINGTON v. GEO GROUP                                III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                            Joan K. Mell
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             Case 3:17-cv-05806-RJB Document 51 Filed 03/20/18 Page 19 of 25




 1
                                         CERTIFICATE OF SERVICE
 2
 3          I, Joseph Fonseca, hereby certify as follows:

 4          I am over the age of 18, a resident of Pierce County, and not a party to the above action. On March

 5 20, 2018, I electronically filed the above GEO’s Motion For Order of Dismissal Based on Plaintiff’s
 6 Failure to Join Required Government Parties, or, Alternatively, To Add Required Government Parties,
 7 with the Clerk of the Court using the CM/ECF system and served via Email to the following:
 8
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 9   La Rond Baker, WSBA No. 43610                          Mark Emery (Pro Hac Vice)
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18
19          I certify under penalty of perjury under the laws of the State of Washington that the above
20
     information is true and correct.
21
            DATED this 20th day of March, 2018 at Fircrest, Washington.
22
23
24                  Joseph Fonseca, Paralegal

25
26
27
28   STATE OF WASHINGTON v. GEO GROUP                                           III BRANCHES LAW, PLLC
     ECF CASE NO. 3:17-cv-05806-RJB                                                       Joan K. Mell
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                                        Appendix A
                       Applicability of Employer Sanctions to Alien Detainees




                                                             APPENDICES 000001
             Case 3:17-cv-05806-RJB Document 51 Filed 03/20/18 Page 21 of 25



                                      Genco Op. No. 92-8 (INS), 1992 WL 1369347

                                                  U.S. Department of Justice

                                           Immigration and Naturalization Service

                                                   General Counsel’s Office

  Legal Opinion: The Applicability of Employer Sanctions to Alien Detainees Performing Work in INS Detention
                                                   Facilities



G. H. Kleinknecht, Associate Commissioner, Enforcement

                                                     February 26, 1992

I. QUESTION PRESENTED

*1 Does work performed by alien detainees in a detention facility operated by or contracted through the Immigration and
Naturalization Service (INS or the Service) subject the Service to the employer sanctions provisions of the Immigration and
Nationality Act (the Act)?1

II. SUMMARY CONCLUSION

No. Alien detainees who perform work for the INS while in INS custody in a contract or Service detention facility are not
considered “employees” for purposes of employer sanctions.

III. LEGAL ANALYSIS

Background. On April 22, 1988, the Office of General Counsel opined to the Field Advisory Committee that inmates who
perform duties in federal and state penal institutions are not subject to the employer sanctions provisions as set forth in §
274A of the Act.2 At that time the issue of work performed by alien detainees in INS operated or controlled detention
facilities was not addressed. This supplemental memorandum is therefore provided.

Analysis. In 1988, we determined that inmates who perform duties pursuant to prison work programs and receive gratuity for
so doing are not subject to employer sanctions provisions as set forth in § 274A of the Act because no employer/employee
relationship is ever formed. Inmates may be required to participate in an institutional work program, and for that participation
receive remuneration. Work performed is for the purpose of rehabilitation and institutional maintenance, not compensation.
Therefore, an inmate who participates in a work program in a state or federal facility is not doing so “for wages or other
remuneration” and is not therefore an “employee” as defined by 8 C.F.R. § 274a.1(f). Likewise, the facility does not engage
an inmate’s services “for wages or other remuneration” and cannot be an employer as defined by 8 C.F.R § 274a.1(g).

Similarly, an alien detained in an INS facility does not meet the definition of “employee”, nor does the INS meet the
definition of “employer.” A detainee performs work for institution maintenance, not compensation. The allowance paid to a
detainee for work performed is specifically provided for by 8 U.S.C. § 1555(d) and currently limited by Congress to $1 per
day.3 This payment does not constitute an appointment of the detainee to the position of a federal employee.4 The allowance
is not subject to the provisions of the Fair Labor Standards Act (FLSA).5

Further, the specific Congressional intent behind the passage of the employer sanctions provision of the Act was to deter
illegal immigration by removing the lure of employment. Work performed by alien detainees is incident to their detention.
Therefore, this is certainly not the type of employment to which Congress referred as creating a magnet for illegal aliens.

*2 Therefore, we conclude that the work performed by alien detainees in INS custody does not fall within the purview of the
employer sanctions provisions.


/s/ GROVER JOSEPH REES III



                                                                                                       APPENDICES 000002
              Case 3:17-cv-05806-RJB Document 51 Filed 03/20/18 Page 22 of 25


General Counsel


Attachment
  Footnotes

 1        8 U.S.C. 1324a.

 2        Office of General Counsel Legal Opinion, entitled “Form I-9 Requirements: Inmates Employed Within Federal and State
          Institutions,” dated April 27, 1988.

 3        FY 1978 Appropriation Act, P. L. 95-86, 91 Stat. 426(August 2, 1977).

 4        Alvarado-Guevara et al. v. INS, No. 90-1476, (Fed. Cir. Jan.6, 1992). Although this case is not citable as precedent, the Court
          held that detainees lacked proper appointment to be considered employees of the Service.

 5        29 U.S.C. §§ 201 et seq.



                                        Genco Op. No. 92-8 (INS), 1992 WL 1369347
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                                                                                                                APPENDICES 000003
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                                      Appendix B
                                     CO-243 DOD Request for Alien Labor




                                                         APPENDICES 000004
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                                      Genco Op. No. 92-63 (INS), 1992 WL 1369402

                                                  U.S. Department of Justice

                                            Immigration and Naturalization Service

                                                   General Counsel’s Office

         Legal Opinion Your CO 243-C Memorandum of November 15, 1991; DOD Request for Alien Labor



Joan C. Higgins, Assistant Commissioner, CODDP

                                                     November 13, 1992

I. QUESTION

*1 In the subject memorandum, you request a Legal Opinion concerning the following question:
           May aliens held in Service custody at the El Centro Service Processing Center perform general labor,
           under Service supervision, at the El Centro Naval Air Facility?


II. SUMMARY CONCLUSION

These aliens may perform general labor at the Naval Air Facility, so long as performance of the labor is voluntary, the labor is
not unduly hazardous, and the aliens remain in Service custody.

III. ANALYSIS

This request originated with Captain Comer at the El Centro Naval Air Facility (NAF). Under Captain Comer’s proposal,
aliens in Service custody at the El Centro Service Processing Center (SPC) would be engaged in general labor in order to
refurbish recreational and training facilities at the NAF. Memorandum from Nathan C. Davis, OIC, El Centro, to Kim Porter,
Deputy ADDD&D, San Diego (October 17, 1991). The projects are similar to those at the SPC for which these aliens are
commonly engaged. Id. The Service has access to the NAF facilities which the aliens will be refurbishing, and will
compensate the aliens for their labor, as provided by 8 U.S.C. 1555(d). Id.

The law expressly provides the Service with authority to use appropriated funds to compensate aliens for labor performed
while in Service custody. 8 U.S.C. 1555(d). The statute provides that the rate of pay is to be fixed in each fiscal year’s
appropriations act. Id. Congress set the rate at $1.00 per day in the 1978 and 1979 appropriations. Department of Justice
Appropriations Act, 1979, Pub. L. No. 95-431, 92 Stat. 1021, 1027 (1978); Department of Justice Appropriations Act, 1978,
Pub. L. No. 95-86, 91 Stat. 419, 426 (1977). It appears that Congress discontinued this practice for Fiscal Year 1980.
Department of Justice Appropriations Act, 1980, Pub. L. No. 96-68, 93 Stat. 416, 420 (1979). For example, Congress set no
compensation rate for labor performed during the FY 1992. Department of Justice Appropriations Act, 1992, Pub. L. No.
102-140, 105 Stat. 782, 791 (1991).

This failure to set the rate of compensation, however, does not abrogate Service authority to pay aliens for labor performed
while in Service custody. The Department of Justice Appropriations Authorization Act, 1979, Pub. L. No. 96-132, 2 (10), 93
Stat. 1040, 1042 (1979), gives the Service authority comparable to the authority in 8 U.S.C. 1555(d). Unlike Section 1555(d),
however, Section 2(10) does not require Congress to set the rate of compensation for each fiscal year. 93 Stat. at 1042.
Congress has continued Section 2(10) in effect for fiscal year 1992. Pub. L. No. 102-140, 102(a), 105 Stat. at 791. Thus, the
Service retains authority to expend appropriated funds to pay aliens for labor performed while in custody.

*2 We do not believe that the fact that the aliens will perform the labor at the NAF, rather than at the SPC, makes Captain
Comer’s proposal improper. As noted, the SPC has access to the facilities at the NAF which the projects will improve. The
Service will share in the benefit of the aliens’ labor. The aliens already perform similar types of labor at the SPC itself; they
will remain at all times in Service custody. The labor, therefore, appears to be within the authority of 8 U.S.C. 1555(d) and of
Section 2(10).



                                                                                                        APPENDICES 000005
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/s/ Paul W. Virtue for GROVER JOSEPH REES III
General Counsel

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